Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 1 of 16 Page ID #:591




 1   Alex J. Shepard, CA Bar No. 295058
     RANDAZZA LEGAL GROUP, PLLC
 2   2764 Lake Sahara Drive, Suite 109
     Las Vegas, Nevada 89117
 3   Telephone: 702-420-2001
     ecf@randazza.com
 4
     Attorneys for Proposed Intervenor
 5   Marc J. Randazza

 6                     IN THE UNITED STATES DISTRICT COURT
 7                         CENTRAL DISTRICT OF CALIFORNIA

 8
     In re:                                          Misc. Action No.
 9                                                   2:20-mc-00076-MWF-MRW
      Application of Daniel Snyder for an
10    Order Directing Discovery from         DECLARATION OF RONALD D.
11    New Content Media Inc. d/b/a MEA       GREEN IN SUPPORT OF
      WorldWide Pursuant to 28 U.S.C. § 1782 EMERGENCY MOTION TO
12                                           INTERVENE AND STRIKE

13                                                   The Honorable Michael R. Wilner

14            I, Ronald D. Green, Jr., under penalty of perjury, hereby declare as follows:
15            1.    I am a partner at the law firm Randazza Legal Group, PLLC (“RLG”) and
16   have been barred in the State of Nevada since 2000.
17            2.    I am over the age of 18 and make the statements in this declaration
18   pursuant to my own first-hand knowledge and would be competent to testify to the
19   statements made herein.
20            3.    On August 4, 2020, at approximately 9:00 a.m., I was in RLG’s Las Vegas
21   office by myself when two men walked into the office and asked to speak with Marc
22   Randazza, my law partner.
23

24                                                 -1-
                                     Declaration of Ronald D. Green
                                      2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 2 of 16 Page ID #:592




 1          4.      One of the men introduced himself as Jim Conklin and stated that he was

 2   a private investigator.

 3          5.      While the other gentleman did not give his name, upon review of Mr.

 4   Conklin’s website, I can identify the other gentleman as Anthony Ricevuto. A true and

 5   correct copy of Exfed Investigations, Inc.’s “About Us” page is attached hereto as

 6   Exhibit A.

 7          6.      I informed them that Mr. Randazza was not in the office and would not
 8   be in at all that day.

 9          7.      When I inquired as to the reason for their visit, Mr. Conklin informed me

10   that they wanted to know whether Mr. Randazza was affiliated with MEAWW or 11
11   Internet Services. They did not elaborate further.

12          8.      I took Mr. Conklin’s contact information and told them I would let Mr.

13   Randazza know of their visit.

14          9.      I have been Mr. Randazza’s law partner since approximately May of 2012

15   and had never heard of either MEAWW or 11 Internet Services.

16          10.     When I spoke with Mr. Randazza about their visit, he stated that he had
17   never heard of MEAWW or 11 Internet Services either. Upon information and belief,

18   Mr. Randazza relayed that information to Mr. Conklin.

19          11.     On September 2, 2020, Mr. Randazza forwarded me an article from NBC
20   Sports entitled “Daniel Snyder pursues a new angle in his defamation case,” a true and

21   correct copy of which is attached hereto as Exhibit B.1

22
        1
           Available at: <https://profootballtalk.nbcsports.com/2020/09/02/daniel-
23   snyder-pursues-a-new-angle-in-his-defamation-case/> (last accessed Sept. 3, 2020).
24                                                 -2-
                                     Declaration of Ronald D. Green
                                      2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 3 of 16 Page ID #:593




 1          12.    That article alleged that Mr. Randazza has close ties to a man named Ari

 2   Bass, a company called HoneyHouse, and MEAWW.

 3          13.    While I have heard of Ari Bass, I have never known Mr. Randazza to have

 4   “extensive ties” with him. In fact, it is my understanding that Mr. Randazza barely

 5   knows Mr. Bass. I have never spoken with, corresponded with, or otherwise interacted

 6   with Mr. Bass. I have never heard of HoneyHouse.

 7          14.    The NBC Sports article additionally referenced a federal California lawsuit
 8   filed by Washington Football Team owner Dan Snyder. I have had the opportunity to

 9   review a filing Mr. Snyder made in that case entitled “Supplemental Ex Parte Petition

10   for Assistance in Aid of a Foreign Proceeding Pursuant to 28 U.S.C. § 1782 to Serve
11   Additional Document Requests and Deposition Topics Identified in Exhibits T and U

12   Hereto” (ECF No. 13).

13          15.    In that document, Mr. Snyder and Reed Smith, his counsel, attempt to

14   connect Mr. Randazza and Mr. Bass because they were named as co-defendants in a

15   lawsuit filed by Crystal Cox in the U.S. District Court for the District of Nevada entitled

16   Cox v. Randazza, et al., Case No. 2:13-cv-00297.
17          16.    It puzzles me that Mr. Snyder and Reed Smith are attempting to draw ties

18   between Mr. Randazza and Mr. Bass through a lawsuit filed by Crystal Cox. In fact, I

19   do not think that Mr. Snyder and Reed Smith could have made the allegations in their
20   filing in good faith. If Reed Smith’s attorneys are aware of Ms. Cox’s Nevada lawsuit,

21   they must be aware that it was filed in bad faith.

22          17.    Dan Snyder and Reed Smith were additionally likely aware that Crystal
23   Cox registered numerous domain names containing the names of Marc Randazza, his

24                                               -3-
                                   Declaration of Ronald D. Green
                                    2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 4 of 16 Page ID #:594




 1   wife, and his children and used those domain names in an attempt to extort him. Mr.

 2   Randazza filed suit against her for these actions in U.S. District Court for the District

 3   of Nevada (Case No. 2:12-cv-02040).

 4          18.    Mr. Randazza and Mr. Bass were not the only defendants in Ms. Cox’s

 5   Nevada lawsuit. I was named as a defendant. Examples of other defendants named by

 6   Ms. Cox in the very Complaint that Reed Smith cites in support of Mr. Snyder’s request

 7   are Greenberg Traurig, Proskauer Rose, Forbes, GoDaddy, the World Intellectual
 8   Property Organization, the New York Times, the University of Montana, Apple, the

 9   Honorable Gloria Navarro, Barnes & Noble, CenturyLink, Live Nation, and Time

10   Warner Cable. In total, there are 4 and ½ pages of named defendants in Ms. Cox’s
11   Nevada lawsuit, most of whom have no discernable connection to one another. See

12   ECF No. 13-7.

13          19.    The Complaint in Ms. Cox’s Nevada lawsuit, which Mr. Snyder’s counsel

14   must have reviewed, is 186 pages long, asserts nineteen claims for relief, and alleges a

15   nonsensical conspiracy involving major American law firms, judges, newspapers, and

16   technology companies, among many others. No competent individual, regardless of
17   whether they possessed a bar number, could review Ms. Cox’s Complaint and conclude

18   that it could conceivably tie any of the defendants to one another.

19          20.    If Mr. Snyder and Reed Smith were aware of Ms. Cox’s Nevada lawsuit,
20   they were almost certainly aware that Ms. Cox filed similar lawsuits against most of the

21   same parties in federal courts in:

22                 a. the District of Arizona (Case No. 2:13-cv-00962-MEA);
23                 b. the Northern District of California (Case No. 4:13-cv-02046-DMR);

24                                               -4-
                                   Declaration of Ronald D. Green
                                    2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 5 of 16 Page ID #:595




 1                c. the Southern District of Florida (Case No. 1:13-cv-21924-DLG);

 2                d. the Northern District of Illinois (Case No. 1:13-cv-03633);

 3                e. the District of Massachusetts (Case No. 1:13-cv. 11308-PBS);

 4                f. the District of New Jersey (Case No. 1:13-cv-03136-AET-DEA);

 5                g. the Southern District of New York (Case No. 13-cv-3257);

 6                h. the Eastern District of Pennsylvania (Case No. 13-cv-3028); and

 7                i. the Eastern District of Wisconsin (Case No. 13-c-0534).
 8         21.    Upon information and belief, with regard to each of these lawsuits,

 9   including the Nevada case that Mr. Snyder and Reed Smith use to support their request,

10   Crystal Cox never served a single defendant, and each suit was subsequently dismissed
11   without briefing from any defendant.

12         22.    Mr. Snyder and Reed Smith additionally attempt to tie Marc Randazza to

13   Ari Bass through a Nevada state court lawsuit filed by Mr. Randazza’s ex-wife against

14   Alexandra Mayers entitled Randazza v. Mayers, Eighth Judicial District Court, Clark

15   County, Nevada, Case No. A-14-699072-C. Ms. Mayers alleged in that suit that Mr.

16   Randazza and Mr. Bass started a record label together called “Randazza Records.”
17         23.    Again, I have been law partners with Mr. Randazza since 2012. I have

18   never heard of Randazza Records, and Mr. Randazza has never uttered the phrase

19   “Randazza Records” in my presence.
20         24.    If Mr. Snyder and Reed Smith are aware of the Nevada suit against Ms.

21   Mayers, they also must be aware that the case resolved with the state court granting

22   summary judgment in Ms. Randazza’s favor for defamation. Specifically, Ms. Mayers
23

24                                              -5-
                                  Declaration of Ronald D. Green
                                   2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 6 of 16 Page ID #:596




 1   made repeated defamatory posts on Twitter falsely accusing Ms. Randazza of being

 2   involved with organized crime, prostitution, and pornography.

 3         25.    Mr. Snyder’s counsel attempts to draw ties between Marc Randazza and

 4   Ari Bass by citing to: (a) one of approximately ten cases filed against Mr. Randazza, Mr.

 5   Bass, and dozens of the nation’s most prominent companies by a serial bad faith

 6   litigator engaged in paranoid conspiratorial musings that were summarily dismissed by

 7   each court in which she raised them; and (b) allegations made by an adjudicated defamer
 8   in the very case where a court granted summary judgment against her for harassing and

 9   making up allegations about Mr. Randazza and his family.

10         I declare under penalty of perjury that the foregoing is true and correct.
11         Dated: September 3, 2020.

12

13
                                              Ronald D. Green
14

15

16
17

18

19
20

21

22
23

24                                               -6-
                                   Declaration of Ronald D. Green
                                    2:20-mc-00076-MWF-MRW
25
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 7 of 16 Page ID #:597




                          EXHIBIT A
                                 “About Us”

                       Exfed Investigations, Inc.
9/3/2020
      Case                        AboutDocument
              2:20-mc-00076-MWF-MRW     Us - Investigative16-2
                                                           Services Filed
                                                                    - Las Vegas, NV - ExFed Investigations
                                                                            09/03/20         Page 8 of 16 Page ID #:598

2251 N Rampart Blvd Suite 267, Las Vegas, NV 89128 | Jim@exfedinvestigationsinc.com                                      


                                                                                          CALL US TODAY!
                      PI License: 1011
                                                                                       702-204-7654

               HOME                  ABOUT US     SERVICES            ESTIMATES            CONTACT US




    About Private Investigators In Las Vegas, NV and Reno, NV
    ExFed Investigation is a private investigation company that
    has been in service in Las Vegas since 1999. We specialize in

    international and local investigations both personal and
    business. All information discussed is kept private and
    con dential. We are available online and by phone, feel free to
    call us today for your con dential consultation.



    All our investigators are retired police or federal agents. We are
    very experienced with getting the job done legally. Every

    investigator will write up an investigative report on every
    surveillance to ensure it will be administered in court.


    We have background investigations in Nevada, the US and worldwide. We have over 40 years experience
    conducting investigations. For your protection, we are licensed, insured and locally owned.




    Meet Our Investigators:
    James B. Conklin – President
    Mr. Conklin had a 26-year career in federal law enforcement experience as an agent and
    supervisor with the U.S. Drug Enforcement Administration. Domestic assignments included
https://www.exfedinvestigationsinc.com/about-us                                                                           1/5
9/3/2020
      Case                        AboutDocument
              2:20-mc-00076-MWF-MRW     Us - Investigative16-2
                                                           Services Filed
                                                                    - Las Vegas, NV - ExFed Investigations
                                                                            09/03/20         Page 9 of 16 Page ID #:599
    New York, San Diego, and Washington DC and foreign assignments Bangkok Thailand and

    Rangoon Burma (Yangon Myanmar). Mr. Conklin was an expert with DEA in money
    laundering and drug tra cking. He was assigned to foreign operations and was considered
    an expert in SE Asia. Mr. Conklin has sources of information and law enforcement
    connections located throughout the world.



    Afterwards, Mr. Conklin worked two and a half years as an agent with the Nevada State
    Gaming Control Board. He traveled extensively throughout the US, Europe and Asia to
    conduct in-depth background investigations in the gaming industry.


    Since 1999, Mr. Conklin has been a President of Exfed Investigations, Inc., a private

    investigations and security consulting corporation. Exfed Investigations specializes
    in domestic and corporate investigations both in the US and international.
    Investigations are conducted in the eld of criminal background, civil litigation,
      nancial/asset, pre-employment, location of missing persons etc. Clients include
    Microsoft, Wynn Resorts, and numerous attorneys.



    Exfed Investigations also conducts surveillance of persons and locations on domestic and business matters in
    the Las Vegas area.


    Mr. Conklin has provided services as a Security Consultant for US and foreign corporations in the elds of
    executive protection, site survey, risk management and employee screening. Clients include Ford Motor Co,
    Limited Brands, Aventis/Sano Pharmaceuticals and Iron Mountain. Mr. Conklin has provided security
    background investigations for the Department of Defense and the Department of Treasury.



    REFERENCES:
    Provided upon request.




    Anthony Ricevuto, Senior Investigator
    Mr. Ricevuto commenced his law enforcement career with the Chicago Police Department and worked as a task
    force o cer assigned to a high crime suppression, Special Operation Group. In 1972, he became a Special
    Agent with U.S. Department of Justice, Drug Enforcement Administration investigating major international
    narcotic tra ckers and money launderers. He was the Senior Inspector in Charge of DEA's O ce of
    Professional Responsibility (OPOR) and retired as the Assistant Special Agent in Charge of the Los Angles DEA
https://www.exfedinvestigationsinc.com/about-us                                                                           2/5
9/3/2020
      Case 2:20-mc-00076-MWF-MRW        About UsDocument
                                                - Investigative Services
                                                                  16-2- LasFiled
                                                                            Vegas, NV - ExFed Investigations
                                                                                   09/03/20        Page 10 of 16 Page ID
                                                              #:600
    o ce. He traveled extensively throughout Latin America conducting sensitive

    investigations involving government personnel.


    Upon retirement, he worked for the Los Angeles METRO as a Senior Investigator
    with the O ce of Inspector General investigating management and contractor
    fraud. He holds a Master Degree in Organization Management and a BA degree in
    the Administration of Criminal Justice. Mr. Ricevuto was a professor at the
    University of Phoenix/ Cha ey Community College and a lecturer for various
    colleges and organizations. He has a CA Private Investigator License and resides in

    Las Vegas, NV.


    Associations:
    California Association of License Investigators (CALI)
    Association of Certi ed Fraud Specialists (ACFS)
    Association of Certi ed Federal Background Investigators.
    Association of Certi ed Fraud Examiners (CFE)

    Association of Former Federal Narcotic Agents. (AFFNA)




    John "Jack" Bax, Senior Investigator
    NV Lic. #1011


    Mr. Bax is the primary investigator in Northern Nevada.


    The majority of Mr. Bax's 41 years of law enforcement experience has
    been conducting complex investigations and the supervision of criminal
    and regulatory investigators, police o cers, intelligence analysts and
    technicians at both eld o ces and command facilities.


    Mr. Bax began his law enforcement career as a Sky Marshall/Special
    Agent with U.S. Customs in Chicago Illinois in 1971. In 1973, he
    transferred to the Drug Enforcement Administration (DEA). He

    subsequently was transferred to El Paso, Texas and worked at the El
    Paso Intelligence Center (EPIC) conducting special operations in support of multiple law enforcement agencies


https://www.exfedinvestigationsinc.com/about-us                                                                            3/5
9/3/2020
       Case 2:20-mc-00076-MWF-MRW        About UsDocument
                                                 - Investigative Services
                                                                   16-2- LasFiled
                                                                             Vegas, NV - ExFed Investigations
                                                                                    09/03/20        Page 11 of 16 Page ID
                                                               #:601
    worldwide. He later was transferred to Lake Tahoe as the DEA Task Force Coordinator. Mr. Bax completed his
    career with DEA as a Group Supervisor in San Diego, CA. 1995.


    In 1996, he began working for the Nevada Gaming Control Board as a regulatory investigator. In this position,
    he supervised and conducted complex domestic and international background and nancial investigations of
    applicants seeking gaming licenses in Nevada. After completing these investigations, comprehensive in-depth

    reports were presented to the Nevada Gaming Control Board and Commission.




    Terri O'Barrie, Investigator
    has been a private investigator with Exfed Investigations since 2008. She has
    a B.A. from Denver City College and is a former US Border Patrol Agent as
    well as a DEA Agent. She has extensive experience in both the criminal and
    civil elds, and is experienced in conducting background investigations,
    surveillance, including electronic surveillance, undercover assignments and
    performing legal research. She speaks conversational Spanish.




    Denise Dee, Investigator
    has been a private investigator with Exfed investigations since 2012. She has
    extensive experience as an advocate for the Family Court system and is also
    involved in treatment and addiction recovery. She is experienced in
    conducting background investigations, surveillance and undercover
    assignments.




    Daniel Conklin
    Daniel Conklin has been a private investigator with Exfed Investigations since 2008. He has a B.A. from
    Northern Arizona University, as well as a Juris Doctorate from Michigan State University College of Law. He has
    extensive experience in both the criminal and civil elds, and has worked for both a major law rm and a
    District Court Judge in Las Vegas.




https://www.exfedinvestigationsinc.com/about-us                                                                             4/5
9/3/2020
       Case 2:20-mc-00076-MWF-MRW        About UsDocument
                                                 - Investigative Services
                                                                   16-2- LasFiled
                                                                             Vegas, NV - ExFed Investigations
                                                                                    09/03/20        Page 12 of 16 Page ID
                                                               #:602
    Besides handling private investigations, Daniel is also the administrative
    manager for Exfed Investigations. He is experienced in conducting background
    investigations, surveillance, including electronic surveillance, and performing
    legal research. He also speaks conversational Spanish.




                                  Home        |   About Us   |    Services     |   Estimates      |   Contact Us


                                                                        

                                                                 Payment Options:




    Content, including images, displayed on this website is protected by copyright laws. Downloading, republication, retransmission or
                            reproduction of content on this website is strictly prohibited. Terms of Use | Privacy Policy




https://www.exfedinvestigationsinc.com/about-us                                                                                          5/5
Case 2:20-mc-00076-MWF-MRW Document 16-2 Filed 09/03/20 Page 13 of 16 Page ID
                                 #:603




                       EXHIBIT B
                  “Daniel Snyder pursues a new
                  angle in his defamation case”

                              NBC Sports
9/3/2020                             Daniel Snyder
             Case 2:20-mc-00076-MWF-MRW            pursues a new16-2
                                               Document         angle in his defamation
                                                                          Filed         case - ProFootballTalk
                                                                                  09/03/20          Page 14 of 16 Page ID
                                                             #:604




                    PFT         NCAA FB            MLB         NBA          NHL          NASCAR              NCAA BB   MOTORS   SOCCER   GOL
Search Search PFT

      Home
      Latest News & Rumors
      FMIA Archive
      Teams
           AFC Teams
                Baltimore
                Buffalo
                Cincinnati
                Cleveland
                Denver
                Houston
                Indianapolis
                Jacksonville
                Kansas City
                Las Vegas
                LA Chargers
                Miami
                New England
                NY Jets
                Pittsburgh
                Tennessee
           NFC Teams
                Arizona
                Atlanta
                Carolina
                Chicago
                Dallas
                Detroit
                Green Bay
                LA Rams
                Minnesota
                New Orleans
                NY Giants
                Philadelphia
                San Francisco
                Seattle
                Tampa Bay
                Washington
      Rotoworld
      About
           Contact
           Feeds
           Advertising
           Privacy Policy
           Terms of Service
      Tickets



               WATCH NOW                  Daniel Snyder pursues a new angle in his defamation
                                          case
                                          Posted by Mike Florio on September 2, 2020, 1:49 PM EDT



      8:39                                         Relatable
      Bucs add another weapon on              CLICK
                                                   How
                                                   PGA
                                                     HERE FOR AUDIO
      offense with Fournette                       Premiership
                                                   Long
                                                   TOUR
                                                   NFC
                                                   Rugby
                                                   dealt
                                                   golfers
                                                   NFC
                                                   West:
                                                   Round
                                                   Chris
                                                   with
                                                   from
                                                   South:
                                                   Over/Under
                                                   NFC
                                                   18
                                                   and
                                                   sliding
                                                   2020
                                                   Over/Under
                                                   NFC
                                                   win
                                                   North:
                                                   preview
                                                   Ahmed
                                                   seat
                                                   E   t d d
                                                   (3i 20)
https://profootballtalk.nbcsports.com/2020/09/02/daniel-snyder-pursues-a-new-angle-in-his-defamation-case/                                1/3
9/3/2020   Case 2:20-mc-00076-MWF-MRW         Daniel Snyder pursues a new16-2
                                                        Document         angle in his defamation
                                                                                   Filed         case - ProFootballTalk
                                                                                           09/03/20          Page 15 of 16 Page ID
                                         p
                                         Ahmed
                                         seat
                                         Extended
                                         (3:20)
                                         win
                                         East:
                                         totals                       #:605                                                                            C
                                         Over/Under
                                         (1:08)
                                         look
                                         DP
                                         during
                                         highlights:
                                         totals
                                         Over/Under
                                         (16:06)
                                         NFC
                                         win
                                         at
                                         reﬂects
                                         race
                                                                                                                             Enter your zip code to find
                                         Stage
                                         (17:39)
                                         NFC
                                         win                                                                                                         G
                                         West:
                                         totals
                                         training
                                         on
                                         (2:21)                                                                                         Click here for
                                         Chris
                                         6
                                         South:
                                         totals
                                         Over/Under
                                         (16:31)
                                         NFC
                                         camp
                                         the
      6:32
                                         and
                                         of
                                         Over/Under
                                         (17:53)                                                                                 Site Tools
                                         win
                                         NFC
                                         North:
                                         pictures
                                         death
     Vikings' Cousins clarifies comments Ahmed
                                         2020
                                         win
                                         Examining
     about COVID-19                      totals
                                         East:
                                         Over/Under
                                         (5:26)
                                         of
                                         State
                                         look
                                         TDF
                                         totals
                                         Rodgers'
                                         (16:06)
                                         Over/Under
                                         PFT
                                         Ti
                                          Washington owner Daniel Snyder continues to pursue
                                          evidence in connection with his pending defamation
                                          claim in India. Although his latest effort seeks
                                                                                                                                                            PFT Most C
                                          information regarding someone other than former
      6:31                                Washington employee Mary Ellen Blair, the latest                                                                1. Russell Wilson: S
                                                                                                                                                             played if they we
     Kamara, Saints hope to get deal      effort potentially adds more bread crumbs to a trail                                                               (85)
     done before Week 1
                                          that possibly leads back to Washington minority owner                                                           2. Kirk Cousins crea
                                                                                                                                          Getty Images       comments (82)
                                          Dwight Schar.
                                                                                                                                                          3. Bruce Arians tells
                                                                                                                                                             “protesting does
                                          On Wednesday, Snyder filed in a California federal court a document aimed at obtaining
                                                                                                                                                          4. Packers CEO Mar
                                          information that potentially would link the defamatory articles (and the broader alleged effort to                 owners to “make
                                          smear Snyder) back to Schar in a way that is separate and apart from ongoing efforts in a                       5. Corey Peters ack
                                                                                                                                                             have discussed s
                                          Virginia federal court to obtain information ultimately linking Schar (through Comstock
      2:33                                                                                                                                                6. Buccaneers sign
                                          Holding Company) to Blair.                                                                                         (65)
     Why hasn't Thomas signed with new
     team yet?                                                                                                                                            7. Report: Some pro
                                          In the California action, Snyder seeks from New Content Media, Inc. information regarding its                      consider sitting o

                                          relationship with a company known as HoneyHouse, which allegedly has a link to meaww.com,                       8. Reports: Saints o
                                                                                                                                                             Kamara if they ca
                                          the website that published multiple false articles tying Snyder to Jeffrey Epstein. Snyder’s                       extension (56)
                                          lawyers explain in the filing that HoneyHouse and meaww.com are “active in the online                           9. Patriots cutting M

                                          pornography world” and that HoneyHouse “publicly touts its business affiliation” with                          10. No, the Jaguars a

                                          meaww.com, “specifically, its ability to have its clients get their names/services promoted on
      9:24                                MEAWW for pay.”
     Harrison unveils top Super Bowl
     contenders                           Snyder’s lawyers also explain in the filing that HoneyHouse “solicits clients on social media by
                                          promoting, among others, the services of MEAWW, which is a clear indication that HoneyHouse
                                          touts its ability to have MEAWW place stories on behalf of its clients for pay.” Ari Bass,
                                          according to the filing, runs HoneyHouse. A lawyer named Marc Randazza, according to the
                                          filing, has a “well-documented history” and “extensive ties” with Bass; the filing lists several
                                          connections between the two men that resulted in litigation and allegations of stalking,
                                          intimidation, and harassment.

                                          That’s where the document ends, as it relates to the potential bread crumbs leading back to
                                          Schar. However, a source with knowledge of the situation tells PFT that Randazza has
                                          represented Schar in court. PFT has obtained a document filed earlier this year in Florida by
                                          Randazza on behalf of Schar, coincidentally in an action aimed at securing discovery in a
                                          defamation case.

                                          Thus, if/when information obtained in the California action shows a connection between New
                                          Content Media to HoneyHouse to Randazza, the next step could be to explore a connection
                                          between Randazza and Schar, with the apparent goal ultimately being able to prove (if possible)
                                          that Schar initiated the process that resulted in the defamatory articles being published on
                                          meaww.com.

                                          Share this:


                                                         

                                          Permalink      4 Comments                                                                   Back to top

                                          4 responses to “Daniel Snyder pursues a new angle in his defamation case”

                                            martinungrammatical says:
                                            September 2, 2020 at 2:10 pm

                                            G’bless’ya for following all the ins and outs of this. It’s a little too convoluted for my attention
                                            span. All I hope is that the whole thing somehow backfires and gets Snyder ousted.

https://profootballtalk.nbcsports.com/2020/09/02/daniel-snyder-pursues-a-new-angle-in-his-defamation-case/                                                                2/3
9/3/2020   Case 2:20-mc-00076-MWF-MRWDaniel Snyder pursues a new16-2
                                               Document         angle in his defamation
                                                                          Filed         case - ProFootballTalk
                                                                                  09/03/20          Page 16 of 16 Page ID
                               13 23    Rate This            #:606
                                            sbc2556 says:
                                            September 2, 2020 at 2:36 pm

                                            Yes… it is convoluted. As a Redskin fan, let me simplify it for you: Snyder’s a defective
                                            personality in ALL aspects of his business dealings!

                                            Whatever this so-called defamation is about no one would have noticed because A) We’re too
                                            busy noticing how defective he is anyhow and B) We never heard about it until he made a
                                            major deal of it.

                                               19     14    Rate This

                                            ewitkowski says:
                                            September 2, 2020 at 3:01 pm

                                            Imagine if he put have of this energy into running his franchise?

                                               12     4    Rate This

                                            Bryan Pratt says:
                                            September 2, 2020 at 3:05 pm

                                            Good for Snyder hope he fights with everything he has and keeps his team!

                                               16     10    Rate This


                                          Leave a Reply

                                          You must be logged in to leave a comment. Not a member? Register now!

                                          This site uses Akismet to reduce spam. Learn how your comment data is processed.




                                                                                                             NBC Sports
                                                    FOLLOW US                                            Social
                                                                                                             Directory

      ©2020 NBC Universal
      Ad Choices    Advertise   Independent Programming Report    Privacy Policy   Sports Jobs   Terms of Use
      Subscription Agreement

      Powered by WordPress.com VIP




                                                                                                                     GET NEWSLETTERS & ALERTS

                                                                                                                               SIGN UP




https://profootballtalk.nbcsports.com/2020/09/02/daniel-snyder-pursues-a-new-angle-in-his-defamation-case/                                      3/3
